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                    EXHIBIT A
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         Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335

    DOCKET       DATE                                              COUNTERVAILING
       #         FILED         DEFENDANT’S POSITION
                                                                     INTERESTS1
                               Redact all quotes from Ms.
                            Maxwell and Non-Party deposition                C1-1
                            testimony, Non-Party identifying                C1-2
      231        6.20.16
                              information, and argument of                  C1-3
                                counsel violative of Local                  C1-4
                                   Criminal Rule 23.1.


                                                                            C1-1
                              Redact all Non-Party witness                  C1-2
      232        6.20.16
                            names and identifying information.              C1-3
                                                                            C1-4


                                                                            C1-1
                              Redact all Non-Party witness                  C1-2
     232-7       6.20.16
                            names and identifying information.              C1-3
                                                                            C1-4
                                                                            C1-1
                             Keep sealed – Non-Party reliance               C1-2
     232-8       6.20.16                                                    C1-3
                                   on Protective Order
                                                                            C1-4


     232-9       6.20.16         No objection to unsealing


     232-10      6.20.16         No objection to unsealing

     232-11      6.20.16         No objection to unsealing




1
  Key:
CI-1 - Reasonable reliance the Protective Order by a party or non-party.
CI-2 - Prevention of the abuse of court records and files.
CI-3 - Annoyance, embarrassment, oppression, undue burden (“Privacy Interests”).
CI-4 - Preserving the fundamental rights of suspects or others under criminal investigation –
including due process right to a fair trial and impartial jury unimpaired by excessive publicity,
release of potentially inadmissible evidence for the Criminal Action, or improper revelation of a
potential witness or their potential testimony.
CI-5 - Improper submission of documents thereby weaponizing judicial documents.
CI-6 - Untrustworthy, unreliable, and incorrect information.
CI-7 - Non-Judicial Documents.


                                                 1
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         Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335




      255        6.28.16          No objection to unsealing




                                Redact all quotes from Ms.                   CI-22
                             Maxwell and Non-Party deposition                CI-3
                             testimony, Non-Party identifying                CI-4
      257        6.28.16
                               information, and argument of                  CI-5
                                 counsel violative of Local                  CI-6
                                    Criminal Rule 23.1.                      CI-7



                                                                              CI-2
                                                                              CI-3
                              Keep sealed – Non-Party reliance                CI-4
      258        6.28.16
                                    on Protective Order                       CI-5
                                                                              CI-6
                                                                              CI-7


                                                                              CI-1
                              Keep sealed – Non-Party reliance                CI-2
                              on Protective Order & Release of                CI-3
     258-1       6.28.16         inadmissible information in                  CI-4
                              violation of Local Criminal Rule                CI-5
                                            23.1.                             CI-6
                                                                              CI-7
                              Keep sealed – Non-Party reliance                CI-2
                              on Protective Order & Release of                CI-3
     258-2       6.28.16         inadmissible information in                  CI-4
                              violation of Local Criminal Rule                CI-5
                                            23.1.                             CI-6

2
 Ms. Maxwell notes that Response Brief is filled with irrelevant information and misleading
deposition excerpts that are wholly irrelevant to the underlying motion for sanctions for failure to
comply with discovery obligations relating to plaintiff’s medical information. These arguments
were made, and documents filed, for purposes of distraction and harassment, and have nothing to
do with the issues presented by the motion. This is classic abuse of the courts records and files.
The Response and Exhibits were not referenced in the Order, and the exhibits are not properly
considered judicial documents.


                                                  2
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    Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335

                                                        CI-7


                                                        CI-2
                    Keep sealed – Non-Party reliance
                                                        CI-3
                    on Protective Order & Release of
                                                        CI-4
258-3     6.28.16      inadmissible information in
                                                        CI-5
                    violation of Local Criminal Rule
                                                        CI-6
                                  23.1.
                                                        CI-7
                                                        CI-2
                    Keep sealed – Non-Party reliance
                                                        CI-3
                    on Protective Order & Release of
                                                        CI-4
258-4     6.28.16      inadmissible information in
                                                        CI-5
                    violation of Local Criminal Rule
                                                        CI-6
                                  23.1.
                                                        CI-7

258-5     6.28.16       No objection to unsealing


258-6     6.28.16       No objection to unsealing

258-7     6.28.16       No objection to unsealing


258-8     6.28.16       No objection to unsealing

                                                        CI-2
                    Keep sealed – Non-Party reliance    CI-3
                    on Protective Order & Release of    CI-4
258-9     6.28.16      inadmissible information in      CI-5
                    violation of Local Criminal Rule    CI-6
                                  23.1.                 CI-7


258-10    6.28.16       No objection to unsealing

                       Redact all quotes from Ms.       CI-2
                    Maxwell and Non-Party deposition    CI-3
                    testimony, Non-Party identifying    CI-4
 261      7.1.16
                      information, and argument of      CI-5
                        counsel violative of Local      CI-6
                           Criminal Rule 23.1.          CI-7




                                       3
  Case 1:15-cv-07433-LAP Document 1150-1 Filed 11/12/20 Page 5 of 28

   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335




269      7.8.16        No objection to unsealing




270      7.8.16        No objection to unsealing




270-1    7.8.16        No objection to unsealing
                                                        CI-1
                     Redact all Non-Party witness
270-2    7.8.16                                         CI-2
                   names and identifying information.
                                                        CI-3
270-3    7.8.16        No objection to unsealing


270-4    7.8.16        No objection to unsealing



270-6    7.8.16        No objection to unsealing




                                                        CI-6
272-1    7.12.16             Keep Sealed
                                                        CI-7




272-2    7.12.16       No objection to unsealing




272-3    7.12.16       No objection to unsealing



                                      4
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    Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335


272-4     7.12.16       No objection to unsealing




272-5     7.12.16     Already publicly filed (DE 45)




272-6     7.12.16     Already publicly filed (DE 31)
                                                         CI-2
                                                         CI-3
272-7     7.12.16    Keep sealed (Already released?)
                                                         CI-4
                                                         CI-5
272-8     7.12.16       No objection to unsealing


272-9     7.12.16       No objection to unsealing

                                                         CI-1
                      Redact all Non-Party witness
272-10    7.12.16                                        CI-2
                    names and identifying information.
                                                         CI-3




 303      7.25.16       No objection to unsealing




 304      7.25.16       No objection to unsealing




                                       5
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   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335


304-1    7.25.16       No objection to unsealing


304-2    7.25.16       No objection to unsealing


304-3    7.25.16       No objection to unsealing


304-4    7.25.16       No objection to unsealing




313      7.29.16        Already publicly filed




313-1    7.29.16       No objection to unsealing




                      Redact all quotes from Ms.
                   Maxwell and Non-Party deposition     CI-1
                   testimony, Non-Party identifying     CI-2
279      7.13.16
                     information, and argument of       CI-3
                       counsel violative of Local       CI-4
                         Criminal Rule 23.1.


                      Redact all quotes from Ms.
                   Maxwell and Non-Party deposition     CI-1
                   testimony, Non-Party identifying     CI-2
280      7.13.16
                     information, and argument of       CI-3
                       counsel violative of Local       CI-4
                         Criminal Rule 23.1.




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   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335


                                                        CI-1
                   Redact all names and identifying     CI-2
280-1    7.13.16   information for Ms. Maxwell and      CI-3
                              Non-Parties               CI-4
                                                        CI-6



                                                        CI-1
                                                        CI-2
280-2    7.13.16             Keep sealed                CI-3
                                                        CI-4
                                                        CI-6




288      7.15.16             Not sealed




288-1    7.15.16             Not sealed




288-2    7.15.16             Not sealed.




                                     7
  Case 1:15-cv-07433-LAP Document 1150-1 Filed 11/12/20 Page 9 of 28

   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335




289      7.18.16              Not sealed




                                                        CI-1
                   Redact identifying information and
290      7.18.16                                        CI-2
                             email address.
                                                        CI-3




291      7.18.16              Not sealed




291-1    7.18.16    No position. Not sealed at 188-1




                                                        CI-2
                                                        CI-3
291-2    7.18.16              Keep sealed
                                                        CI-4
                                                        CI-7




                                      8
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    Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335



                                                         CI-2
                                                         CI-3
291-3     7.18.16           Keep sealed
                                                         CI-4
                                                         CI-7




 300      7.22.16           Not sealed




300-1:2   7.22.16           Not sealed




 337      8.8.16            Not sealed




                                                         CI-1
                                                         CI-3
 338      8.8.16            Keep sealed
                                                         CI-4
                                                         CI-6




                                    9
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   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335




338-2    8.8.16             Keep sealed                 CI-7




                                                        CI-1
                                                        CI-2
                                                        CI-3
338-3    8.8.16             Keep sealed                 CI-4
                                                        CI-5
                                                        CI-6
                                                        CI-7


                                                       CI-1
                                                       CI-2
338-4    8.8.16             Keep sealed                CI-3
                                                       CI-4
                                                       CI-7


                                                       CI-1
                  Keep sealed – Non-Party reliance     CI-2
                  on Protective Order & Release of     CI-3
338-5    8.8.16      inadmissible information in       CI-4
                  violation of Local Criminal Rule     CI-5
                                23.1.                  CI-6
                                                       CI-7

                                                       CI-1
                  Keep sealed – Non-Party reliance     CI-2
                  on Protective Order & Release of     CI-3
338-6    8.8.16      inadmissible information in       CI-4
                  violation of Local Criminal Rule     CI-5
                                23.1.                  CI-6
                                                       CI-7




                                    10
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    Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335

                                                        CI-1
                    Keep sealed – Non-Party reliance    CI-2
                    on Protective Order & Release of    CI-3
338-7     8.8.16       inadmissible information in      CI-4
                    violation of Local Criminal Rule    CI-5
                                  23.1.                 CI-6
                                                        CI-7

                                                        CI-1
                    Keep sealed – Non-Party reliance    CI-2
                    on Protective Order & Release of    CI-3
338-8     8.8.16       inadmissible information in      CI-4
                    violation of Local Criminal Rule    CI-5
                                  23.1.                 CI-6
                                                        CI-7

                                                        CI-1
                    Keep sealed – Non-Party reliance    CI-2
                    on Protective Order & Release of    CI-3
338-9     8.8.16       inadmissible information in      CI-4
                    violation of Local Criminal Rule    CI-5
                                  23.1.                 CI-6
                                                        CI-7




338-10    8.8.16        No objection to unsealing




                      Redact all Non-Party witness       CI-1
 353      8.10.16
                    names and identifying information    CI-3




                                      11
  Case 1:15-cv-07433-LAP Document 1150-1 Filed 11/12/20 Page 13 of 28

   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335




375      8.17.16             Not sealed




                                                        CI-1
                                                        CI-2
                                                        CI-3
315      7.29.16             Keep sealed                CI-4
                                                        CI-5
                                                        CI-6


                                                        CI-1
                                                        CI-2
                                                        CI-3
316      7.29.16             Keep sealed                CI-4
                                                        CI-5
                                                        CI-6


                                                       CI-2
                   Keep sealed – Non-Party reliance
                                                       CI-3
                   on Protective Order & Release of
                                                       CI-4
316-1    7.29.16      inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7


                                                       CI-2
                   Keep sealed – Non-Party reliance
                                                       CI-3
                   on Protective Order & Release of
                                                       CI-4
316-2    7.29.16      inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7




                                     12
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   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335


                                                       CI-2
                   Keep sealed – Non-Party reliance
                                                       CI-3
                   on Protective Order & Release of
                                                       CI-4
316-3    7.29.16      inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7


                                                       CI-2
                   Keep sealed – Non-Party reliance
                                                       CI-3
                   on Protective Order & Release of
                                                       CI-4
316-4    7.29.16      inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7


                                                       CI-2
                   Keep sealed – Non-Party reliance
                                                       CI-3
                   on Protective Order & Release of
                                                       CI-4
316-5    7.29.16      inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7




316-6    7.29.16             Keep sealed                CI-1




                                                       CI-2
                       Keep sealed –Reliance on
                                                       CI-3
                    Protective Order & Release of
                                                       CI-4
316-7    7.29.16      inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7




                                     13
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   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335

                                                           CI-1
                                                           CI-2
                   Keep sealed – Non-Party reliance on
                                                           CI-3
                      Protective Order & Release of
316-8    7.29.16   inadmissible information in violation
                                                           CI-4
                       of Local Criminal Rule 23.1.        CI-5
                                                           CI-6



                                                           CI-1
                                                           CI-2
339      8.8.16               Keep sealed
                                                           CI-3
                                                           CI-4




                                                           CI-1
340      8.8.16               Keep sealed
                                                           CI-4




                                                           CI-1
340-1    8.8.16               Keep sealed
                                                           CI-4



                                                           CI-1
                                                           CI-2
                                                           CI-3
340-3    8.8.16               Keep sealed                  CI-4
                                                           CI-5
                                                           CI-6
                                                           CI-7




                                        14
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   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335


                                                        CI-1
                                                        CI-2
                                                        CI-3
340-4                       Keep sealed
                                                        CI-4
                                                        CI-5
                                                        CI-6


                                                       CI-2
                  Keep sealed – Non-Party reliance
                                                       CI-3
                  on Protective Order & Release of
                                                       CI-4
340-5                inadmissible information in
                                                       CI-5
                  violation of Local Criminal Rule
                                                       CI-6
                                23.1.
                                                       CI-7


                                                       CI-2
                  Keep sealed – Non-Party reliance
                                                       CI-3
                  on Protective Order & Release of
                                                       CI-4
340-6                inadmissible information in
                                                       CI-5
                  violation of Local Criminal Rule
                                                       CI-6
                                23.1.
                                                       CI-7


                                                       CI-2
                  Keep sealed – Non-Party reliance
                                                       CI-3
                  on Protective Order & Release of
                                                       CI-4
340-7                inadmissible information in
                                                       CI-5
                  violation of Local Criminal Rule
                                                       CI-6
                                23.1.
                                                       CI-7


                                                       CI-2
                  Keep sealed – Non-Party reliance
                                                       CI-3
                  on Protective Order & Release of
                                                       CI-4
340-8                inadmissible information in
                                                       CI-5
                  violation of Local Criminal Rule
                                                       CI-6
                                23.1.
                                                       CI-7




                                    15
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   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335


                                                       CI-2
                   Keep sealed – Non-Party reliance
                                                       CI-3
                   on Protective Order & Release of
                                                       CI-4
340-9    8.8.16       inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7


                                                        CI-1
                                                        CI-2
                                                        CI-3
368      8.12.16             Keep sealed
                                                        CI-4
                                                        CI-5
                                                        CI-6


                                                        CI-1
                                                        CI-2
                                                        CI-3
369      8.12.16             Keep sealed
                                                        CI-4
                                                        CI-5
                                                        CI-6

                                                        CI-1
                                                        CI-2
                                                        CI-3
369-1    8.12.16             Keep sealed                CI-4
                                                        CI-5
                                                        CI-6
                                                        CI-7




369-2    8.12.16             Keep sealed                CI-1




                                     16
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   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335


                                                        CI-1
                                                        CI-2
                                                        CI-3
369-3    8.12.16             Keep sealed
                                                        CI-4
                                                        CI-5
                                                        CI-6


                                                       CI-2
                   Keep sealed – Non-Party reliance
                                                       CI-3
                   on Protective Order & Release of
                                                       CI-4
369-4    8.12.16      inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7


                                                       CI-2
                   Keep sealed – Non-Party reliance
                                                       CI-3
                   on Protective Order & Release of
                                                       CI-4
369-5    8.12.16      inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7


                                                       CI-2
                   Keep sealed – Non-Party reliance
                                                       CI-3
                   on Protective Order & Release of
                                                       CI-4
369-6    8.12.16      inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7


                                                       CI-2
                   Keep sealed – Non-Party reliance
                                                       CI-3
                   on Protective Order & Release of
                                                       CI-4
369-7    8.12.16      inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7




                                     17
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    Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335


                                                        CI-2
                    Keep sealed – Non-Party reliance
                                                        CI-3
                    on Protective Order & Release of
                                                        CI-4
369-8     8.12.16      inadmissible information in
                                                        CI-5
                    violation of Local Criminal Rule
                                                        CI-6
                                  23.1.
                                                        CI-7


                                                        CI-2
                    Keep sealed – Non-Party reliance
                                                        CI-3
                    on Protective Order & Release of
                                                        CI-4
369-9     8.12.16      inadmissible information in
                                                        CI-5
                    violation of Local Criminal Rule
                                                        CI-6
                                  23.1.
                                                        CI-7



                                                         CI-2
                                                         CI-6
369-10    8.12.16             Keep sealed
                                                         CI-7




                                                        CI-2
                    Keep sealed – Non-Party reliance
                                                        CI-3
                    on Protective Order & Release of
                                                        CI-4
369-11    8.12.16      inadmissible information in
                                                        CI-5
                    violation of Local Criminal Rule
                                                        CI-6
                                  23.1.
                                                        CI-7


                                                        CI-2
                    Keep sealed – Non-Party reliance
                                                        CI-3
                    on Protective Order & Release of
                                                        CI-4
369-12    8.12.16      inadmissible information in
                                                        CI-5
                    violation of Local Criminal Rule
                                                        CI-6
                                  23.1.
                                                        CI-7




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    Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335


                                                        CI-2
                    Keep sealed – Non-Party reliance
                                                        CI-3
                    on Protective Order & Release of
                                                        CI-4
369-13    8.12.16      inadmissible information in
                                                        CI-5
                    violation of Local Criminal Rule
                                                        CI-6
                                  23.1.
                                                        CI-7


                                                        CI-2
                    Keep sealed – Non-Party reliance
                                                        CI-3
                    on Protective Order & Release of
                                                        CI-4
369-14    8.12.16      inadmissible information in
                                                        CI-5
                    violation of Local Criminal Rule
                                                        CI-6
                                  23.1.
                                                        CI-7


                                                        CI-2
                    Keep sealed – Non-Party reliance
                                                        CI-3
                    on Protective Order & Release of
                                                        CI-4
369-15    8.12.16      inadmissible information in
                                                        CI-5
                    violation of Local Criminal Rule
                                                        CI-6
                                  23.1.
                                                        CI-7


                                                        CI-2
                    Keep sealed – Non-Party reliance
                                                        CI-3
                    on Protective Order & Release of
                                                        CI-4
369-16    8.12.16      inadmissible information in
                                                        CI-5
                    violation of Local Criminal Rule
                                                        CI-6
                                  23.1.
                                                        CI-7



                                                         CI-1
 320      8.1.16              Keep Sealed                CI-3




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   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335




321      8.1.16             Not sealed




                                                        CI-1
                  Redact all names and identifying      CI-2
321-1    8.1.16   information for Ms. Maxwell and       CI-3
                             Non-Parties                CI-4
                                                        CI-6



                                                        CI-1
                  Redact all names and identifying      CI-2
321-2    8.1.16   information for Ms. Maxwell and       CI-3
                             Non-Parties                CI-4
                                                        CI-6



                                                        CI-1
                  Redact all names and identifying      CI-2
321-3    8.1.16   information for Ms. Maxwell and       CI-3
                             Non-Parties                CI-4
                                                        CI-6



                                                        CI-1
                  Redact all names and identifying      CI-2
321-4    8.1.16   information for Ms. Maxwell and       CI-3
                             Non-Parties                CI-4
                                                        CI-6




                                    20
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   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335


                                                        CI-1
                  Redact all names and identifying      CI-2
321-5    8.1.16   information for Ms. Maxwell and       CI-3
                             Non-Parties                CI-4
                                                        CI-6



                                                        CI-1
                  Redact all names and identifying      CI-2
321-6    8.1.16   information for Ms. Maxwell and       CI-3
                             Non-Parties                CI-4
                                                        CI-6




322      8.1.16             Not sealed




                                                        CI-1
                  Redact all names and identifying      CI-2
323      8.1.16   information for Ms. Maxwell and       CI-3
                             Non-Parties                CI-4
                                                        CI-6




329      8.2.16             Not Sealed




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   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335




335      8.8.16      No objection to unsealing.




336      8.8.16      No objection to unsealing.




336-1    8.8.16      No objection to unsealing.




336-2    8.8.16      No objection to unsealing.




336-3    8.8.16      No objection to unsealing




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   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335




380      8.18.16     No objection to unsealing.




381      8.18.16     No objection to unsealing.




381-1    8.8.16      No objection to unsealing.




381-2    8.8.16      No objection to unsealing.




381-3    8.8.16      No objection to unsealing.




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   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335



                    No objection to unsealing –
381-4    8.8.16     Redacted version released by
                          Second Circuit




                    No objection to unsealing –
381-5    8.8.16     Redacted version released by
                          Second Circuit




381-6    8.8.16      No objection to unsealing




                    No objection to unsealing –
381-7    8.8.16     Redacted version released by
                          Second Circuit




381-8    8.8.16      No objection to unsealing




                                    24
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   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335


                                                        CI-1
                                                        CI-2
                                                        CI-3
392      8.23.16             Keep Sealed
                                                        CI-4
                                                        CI-5
                                                        CI-6


                                                        CI-1
                                                        CI-2
                                                        CI-3
393      8.23.16             Keep Sealed
                                                        CI-4
                                                        CI-5
                                                        CI-6


                                                       CI-2
                   Keep sealed – Non-Party reliance
                                                       CI-3
                   on Protective Order & Release of
                                                       CI-4
393-1    8.23.16      inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7


                                                       CI-2
                   Keep sealed – Non-Party reliance
                                                       CI-3
                   on Protective Order & Release of
                                                       CI-4
393-2    8.23.16      inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7


                                                        CI-1
                                                        CI-2
                                                        CI-3
393-3    8.23.16             Keep sealed
                                                        CI-4
                                                        CI-5
                                                        CI-7




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   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335


                                                        CI-1
                                                        CI-2
                                                        CI-3
393-4    8.23.16           Keep sealed
                                                        CI-4
                                                        CI-5
                                                        CI-7



                                                        CI-1
                                                        CI-2
400      8.25.16           Keep Sealed
                                                        CI-3
                                                        CI-4




                                                        CI-1
                                                        CI-2
401      8.25.16           Keep Sealed
                                                        CI-3
                                                        CI-4



                                                        CI-1
                                                        CI-2
401-1    8.25.16           Keep sealed                  CI-3
                                                        CI-4
                                                        CI-5



                                                        CI-1
                                                        CI-2
401-2    8.25.16           Keep sealed                  CI-3
                                                        CI-4
                                                        CI-5




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   Defendant’s Position on Docket Entries 231, 279, 315, 320, & 335


                                                       CI-2
                   Keep sealed – Non-Party reliance
                                                       CI-3
                   on Protective Order & Release of
                                                       CI-4
401-3    8.25.16      inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7


                                                       CI-2
                   Keep sealed – Non-Party reliance
                                                       CI-3
                   on Protective Order & Release of
                                                       CI-4
401-4    8.25.16      inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7


                                                       CI-2
                   Keep sealed – Non-Party reliance
                                                       CI-3
                   on Protective Order & Release of
                                                       CI-4
401-5    8.25.16      inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7


                                                       CI-2
                   Keep sealed – Non-Party reliance
                                                       CI-3
                   on Protective Order & Release of
                                                       CI-4
401-6    8.25.16      inadmissible information in
                                                       CI-5
                   violation of Local Criminal Rule
                                                       CI-6
                                 23.1.
                                                       CI-7




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